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         APPALACHIAN VOICES, ET AL v. EPA, ET AL
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                          EXHIBIT 3

                         PUSH Buffalo

                          Declaration
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


            DECLARATION OF DAWN WELLS-CLYBURN, PUSH BUFFALO

I, Dawn Wells-Clyburn, declare and state as follows:

   1. I am the Executive Director at PUSH Buffalo (PUSH). In my role as Executive Director,

        I lead the organization, am responsible for overseeing its strategic direction, and I work to

        ensure its sound fiscal management.

   2.

        practices, and programs.

   3. Established in 2005, PUSH works to mobilize the residents of Buffalo, New York to

        create strong neighborhoods with quality, affordable housing, to expand local hiring

        opportunities, and to advance racial, economic, and environmental justice.

   4. One way PUSH works to implement its mission is by running programs that retrofit

        residential homes to prepare them for weatherization work, that connect unemployed and

        underemployed residents of Buffalo with job training for clean energy initiatives and

        hiring opportunities in construction, and that provide community leadership and

        governance tools to community members.

   5. These programs are funded through a mix of public and private dollars. We receive

        support from individual donors, as well as grants from philanthropic funds. PUSH also

        receives funding from the New York State Department of Homes and Community

        Renewal, and the New York State Energy Research and Development Authority. Since

        2016 or 2017, PUSH has also received funds from the Environmental Protection




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   years.

6. In 2024, we applied for an EPA Community Change Grant to implement the following

   initiatives: (1) Establish one hundred and fifty Community Resilience Hubs throughout

   the City of Buffalo; (2) create communication and technology accessibility by purchasing

   portable network kits and solar power kits and distributing them to the Community

   Resilience Hubs; (3) create Workforce Development Training Centers; (4) conduct green

   jobs employment training; (5) create and distribute a $5 million fund for home

   improvements related to environmental health; (6) conduct outdoor air quality monitoring

   and outreach; and (7) develop an air quality intervention plan for each neighborhood in

   the City of Buffalo.

7. Within the Community Resiliency Hubs, we proposed to establish a first responder

   training program for four residents per Hub to create a network of volunteers who could

   respond in extreme weather events to ensure the safety of their neighbors and coordinate

   with other volunteers across the city. These volunteers would also receive training in

   conflict de-escalation and on community health issues.

8. The $5 million home improvements fund would be used to pay for costs associated with

   lead, mold, and asbestos remediation in homes throughout the city. This work would

   make homes eligible for additional improvements to improve their energy efficiency, like

   installing new insulation and double-paned windows, installing solar panels, and

   converting home heating from natural gas to electric heat pump systems.

9. On December 11, 2024, our application for the Community Change Grant was approved.

   EPA approved a total funding amount of $20,152,214.00. Ex. 1.



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10. After being awarded the grant, PUSH began to take steps to implement the grant. The

   organization hired one additional full-time employee whose salary was to be fully paid

   from the grant funds, started discussions with six potential subcontractors, and started

   conversations with partner organizations about how the grant money would be spent in

   the neighborhoods we serve. Specifically, PUSH convened several planning meetings

   with partner organizations and formed a governance committee to ensure that all pre- and

   post-award requirements would be met. PUSH employees dedicated significant hours to

   ensure that the organization would have the capacity necessary to administer the grant

   funds.

11. PUSH could not begin drawing down funds from the grant until we satisfactorily

                         -award certification review process. On March 21, 2025, we

                                                                                       -award

   certification review process. Ex.2.

12. On March 25, 2025, PUSH requested guidance from EPA on when we would receive our

   login credentials for the Automated Standard Application for Payments (ASAP)

   system    the system through which federal grantees can withdraw the funds that they

   have been awarded. Ex. 3.

13. We sent follow up emails to EPA again on April 3, 2025 and April 16, 2025. Aside from

   a March 27, 2025 reply from an EPA employee requesting our grant number, we did not

   receive a response to our requests. Id.

14. Despite these multiple requests, and despite meeting the necessary prerequisites to begin

   drawing down funds from the grant, PUSH has never received login credentials for

   ASAP.



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15. On May 2, 2025, we received notice from EPA that our Community Change Grant was



      portion of the Federal award will not accomplish the EPA funding priorities for achieving



                          Ex. 4.

16. Since we received the termination notice, we have attempted to increase our fundraising

      to implement the programs that were planned under the grant at a dramatically reduced

      scale. We have not yet had to reduce any staff hours, but we have had to shift funds



      through the CCG grant. We have also had to put an indefinite hold on hiring the six

      subcontractors.

17.

      and policy work. For example, an increasing share of my own work as Executive Director

      is being directed toward fundraising to make up the gap caused by the termination of our

      Community Change Grant, which is preventing me from dedicating an appropriate




      Director of Movement Building has had to focus on fundraising efforts to the detriment



18. If the CCG grant program is not restored soon, I am concerned that our organization will

      be unable to enact the programs as we had originally planned. For example, PUSH went

      through a significant process to identify six subcontractors to take on different aspects of

      the grant, but we have not been able to access the grant funds to pay them. If the grant



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   funds are released now, we can begin paying the contractors. If we are forced to wait

   several more months for the funds to be released, some or all of the contractors may need

   to take on different work in the meantime, and our hiring process will need to start again.



   employee effort that would otherwise be spent on actually administering the grant.

19. PUSH is similarly concerned that consultants with subject matter expertise who we had

   intended to hire for this grant will walk away from this project and take on other work in

   the coming months.

20. In addition to the above-described consequences to our organization, I am concerned

   about the impact to the Buffalo community that will result if our programs are not

   enacted as originally planned. The need for a decentralized network of community

   resiliency hubs in the face of increasing extreme weather events has been clear for several

   years now, and was put on tragic display during Winter Storm Elliott in 2022. Forty-one

   people died in Erie County as a result of the storm, 911 service for certain areas was not

   restored for three days, and some neighborhoods in Buffalo went without electricity for

   two weeks. Our CCG grant funds were to be spent on purchasing portable network

   devices and solar power kits for one-hundred and fifty Buffalo neighborhoods to ensure

   people remain connected to vital services during the next storm, as well as on providing

   first responder training to four individuals in each of the one-hundred and fifty

   neighborhoods.

21. Without these funds, I am gravely concerned that Buffalo residents will be as vulnerable

   to harm from the next major winter storm as we were from Winter Storm Elliott.




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   22. If the Community Change Grant program is restored and our awarded grant reinstated,

       PUSH will be able to begin paying our project consultants and contractors, senior staff

       will be able to refocus on core operational work and away from fundraising activities to

       make up for the lost grant funds, and our community will begin to benefit from the

       investments made possible by this grant.

I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true and

correct.

________________________                                            Date:

Dawn Wells-Clyburn




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